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                   EXHIBIT E
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER                                     *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                                     *
 VERSUS                                              *   JUDGE WENDY B. VITTER
                                                     *
 MARTIAN SALES, INC; JOPEN, LLC,                     *   MAGISTRATE DONNA PHILLIPS
 a Texas limited liability company;                  *   CURRAULT
 JOHNSON FOODS, LLC, a Wyoming                       *
 limited liability company; LP IND., LLC,            *
 a Wyoming limited liability company;                *
 CAG HOLDINGS, LLC, a Wyoming                        *
 limited liability company; RMH                      *
 HOLDINGS, INC., a Wyoming                           *
 corporation; ABC INSURANCE                          *
 COMPANY and John Does 1-4.                          *
                                                     *
 ***********************************

              DEFENDANT LP IND., LLC’S RESPONSES AND OBJECTIONS
                TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

TO:     Plaintiff, Kathleen Moller, by and through her attorneys of record, Nelson W. Wagar, III,
        Sarah Wagar Hickman, Wagar Hickman, LLP, 1401 West Causeway Approach,
        Mandeville, Louisiana 70471 and Michael Cowgill, Tamara J. Spires, mctlaw, 1515
        Ringling Blvd., Suite 700, Sarasota, Florida 34236.

        Defendant LP Ind., LLC (“Defendant”), pursuant to the Federal Rules of Civil Procedure,

responds to Plaintiff’s Kathleen Moller’s Second Set of Interrogatories (“Interrogatories”), as

follows:

                                      GENERAL OBJECTIONS

        1.      Defendant objects to the Interrogatories to the extent that they are vague,

ambiguous, overbroad, unduly burdensome, oppressive, not relevant to the subject matter of this

action, and not reasonably calculated to lead to the discovery of admissible evidence.

        2.      Defendant objects to the Interrogatories to the extent that they are contradicted by,

inconsistent with, or impose on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.


DEFENDANT LP IND., LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF INTERROGATORIES    PAGE 1
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        3.      Defendant objects to the Interrogatories to the extent they seek information and

materials protected by the attorney-client privilege, attorney-work product doctrine, and any other

applicable privilege.

        4.      Defendant objects to the Interrogatories to the extent that they seek information or

documents that constitute or contain trade secrets, proprietary information, and/or other

confidential information. Defendant will produce such information pursuant to the Protective

Order entered by the Court in this matter on December 17, 2024 [D.E. 62], and only if such

information is not subject to any other objections.

        5.      Defendant objects to the Interrogatories to the extent that they seek information or

documents that are not in its possession, custody, or control and are equally or more easily

accessible by Plaintiff.

        6.      Defendant objects to the Interrogatories to the extent they seek information or

documents outside the scope of the time, place, subject matter, and circumstances of the

occurrences mentioned or complained of in the Second Amended Complaint, dated February 6,

2024 (the “Complaint”). Paragraphs 14 and 17 of the Complaint allege that injuries were suffered

on February 6, 2023, allegedly after consumption of an unspecified kratom product. Accordingly,

actions or activities by Defendant after February 6, 2023—as well as issues, documents, or

communications in connection with activities other than the production and/or distribution of the

kratom product Plaintiff allegedly consumed—do not give rise to Plaintiff’s cause of action.

Defendant will respond to the Interrogatories for the following dates: January 1, 2020, through

February 6, 2023.




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        7.      Defendant objects to these Interrogatories to the extent they are not tailored

sufficiently to the issue of whether personal jurisdiction over Defendant in the State of Louisiana

exists in this action.

        8.      Defendant does not concede that any of the responses are or will be admissible

evidence at trial. Further, Defendant does not waive any objection, whether or not asserted herein,

to use any such answer at trial.

        9.      These Responses and Objections have been prepared pursuant to a reasonably and

duly diligent investigation and search for the necessary information.

                              SPECIFIC OBJECTIONS TO DEFINITIONS

        1.      Defendant objects to the definition of “identify” to the extent that it contradicts, is

inconsistent with, or imposes on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.

                                SPECIFIC RESPONSES TO
                            SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1

Please describe the organizational structure of LP IND., LLC including identification of all
affiliates, subsidiaries, or parent companies of LP IND., LLC from formation to present.

        ANSWER: Defendant objects to this Interrogatory to the extent it is duplicative of

Interrogatory No. 9 in Plaintiff’s First Set of Interrogatories. Defendant further objects to this

Interrogatory on the grounds that it is overbroad and unduly burdensome because it seeks

information regarding Defendant’s organizational structure, including “identification of all

affiliates, subsidiaries, or parent companies of [Defendant],” which is not reasonably tailored to

the narrow issue of specific personal jurisdiction over Defendant for this proceeding, which only

concerns events which allegedly occurred in Louisiana in February 2023.




DEFENDANT LP IND., LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF INTERROGATORIES    PAGE 3
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        Subject to the foregoing objections, Defendant has a single member, which is FMK Group,

LLC. FMK Group, LLC is also the sole member of CAG Holdings, LLC. RMH Holdings, Inc. is

an affiliate of Defendant with separate operations. Jordan Process is a d/b/a of Defendant. No

affiliates, subsidiaries, or parent companies of Defendant are located in Louisiana or incorporated

under the laws of Louisiana.

INTERROGATORY NO. 2

For all entities, affiliates, subsidiaries or parent companies identified in response to Interrogatory
number one (1), please identify the owners and ownership percentages thereof from formation to
present.

ANSWER: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks information regarding the owners and ownership percentages of

Defendant’s affiliates, subsidiaries, or parent companies from “formation to present,” which is not

reasonably tailored to the narrow issue of specific personal jurisdiction over Defendant for this

proceeding, which only concerns events which allegedly occurred in Louisiana in February 2023.

        Subject to the foregoing objections, Defendant states that it has no affiliates, subsidiaries,

or parent companies that are located in Louisiana or incorporated under the laws of Louisiana or

that have any owners located in Louisiana or incorporated under the laws of Louisiana. The

owners and ownership percentages of Defendant’s affiliates, subsidiaries, or parent companies

have no bearing on specific jurisdiction over Defendant. Defendant’s sole member, FMK Group,

LLC, is currently owned by Belfast II, LLC (prior to December 31, 2022, FMK Group, LLC was

owned by AIA Asset Trust II).




DEFENDANT LP IND., LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF INTERROGATORIES    PAGE 4
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INTERROGATORY NO. 3

Please identify the owners of LP IND., LLC from formation to present, and the ownership
percentages of each owner for their respective periods of ownership.

ANSWER: Defendant objects to this Request on the grounds that it is overbroad and unduly

burdensome because it seeks information regarding Defendant’s owners and ownership

percentages from “formation to present,” which is not reasonably tailored to the narrow issue of

specific personal jurisdiction over Defendant for this proceeding, which only concerns events

which allegedly occurred in Louisiana in February 2023.

        Subject to the foregoing objections, FMK Group, LLC is the sole member of Defendant.



DATED: January 16, 2025

                                                  Respectfully submitted,



                                                      By /s/ Gwendolyn C. Payton
                                                         Hayley R. Ambler
                                                         Louisiana Bar No. 25848
                                                         KILPATRICK TOWNSEND & STOCKTON LLP
                                                         1100 Peachtree Street NE, Suite 2800
                                                         Atlanta, Georgia 30309
                                                         Telephone: (404) 815-6080
                                                         Facsimile: (404) 541-3268
                                                         hambler@ktslaw.com

                                                          Gwendolyn C. Payton (admitted pro hac vice)
                                                          KILPATRICK TOWNSEND & STOCKTON LLP
                                                          1420 Fifth Avenue, Suite 3700
                                                          Seattle, Washington 98101
                                                          Telephone: (206) 497-9600
                                                          Facsimile: (206) 299-0414
                                                          gpayton@ktslaw.com

                                                          Maeghan E. Whitehead (admitted pro hac vice)
                                                          KILPATRICK TOWNSEND & STOCKTON LLP
                                                          2001 Ross Avenue, Suite 4400
                                                          Dallas, Texas 75201


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                                                          Telephone: (214) 922-7138
                                                          Facsimile: (214) 279-4456
                                                          mewhitehead@ktslaw.com

                                                          Counsel for Defendants LP IND., LLC; CAG
                                                          HOLDINGS, LLC; RMH HOLDINGS, INC.;
                                                          MARTIAN SALES, INC.; and JOPEN, LLC.




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                                   CERTIFICATE OF SERVICE

        This is to certify that on the 16th day of January 2025, a copy of the foregoing document

was served on all counsel of record by electronic mail.



                                                      /s/ Gwendolyn C. Payton
                                                      Gwendolyn C. Payton




DEFENDANT LP IND., LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF INTERROGATORIES    PAGE 7
